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                           UNITED STATES DISTRICT COURT
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11                       CENTRAL DISTRICT OF CALIFORNIA
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      BRYAN FLORES, individually and on          Case No.: 2:20-CV-01672
13    behalf of all others similarly situated,
14                 Plaintiffs,                   ORDER DISMISSING ACTION
15                                               WITH PREJUDICE
      v.
16
                                                 Action Filed:     February 20, 2020
17    PAPA JOHN’S USA, INC.,
18                 Defendant                     Judge:             Hon. Dale S. Fischer
19

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21          Having reviewed the parties’ Joint Stipulation For Dismissal Of Action With
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      Prejudice, which stipulation was submitted on October 20, 2020, and good cause
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24
      having been shown, the Court ORDERS as follows:

25          1.     Plaintiff Bryan Flores’ Complaint is hereby DISMISSED WITH
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      PREJUDICE against the Named Plaintiff, and without prejudice against the
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                                                          [PROPOSED] ORDER DISMISING ACTION
                                                                             WITH PREJUDICE
                                                                 Case No.: 2:20-CV-01672
     Case 2:20-cv-01672-DSF-SK Document 38 Filed 10/20/20 Page 2 of 2 Page ID #:240



 1    proposed class. Plaintiff has not sought class certification, a class was not certified,
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      and no notice was given to a prospective class; and
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 4          2.       Each party is to bear its/his own costs and attorneys’ fees incurred in
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      this matter.
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      IT IS SO ORDERED.

 8    Dated: October 20, 2020
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                                              THE HONORABLE DALE S. FISCHER
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                                              UNITED STATES DISTRICT JUDGE
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                                                          [PROPOSED] ORDER DISMISING ACTION
                                                                             WITH PREJUDICE
                                                                 Case No.: 2:20-CV-01672
